        Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 1 of 14




             In the United States Court of Federal Claims
                                        No. 21-1910
                             (Filed under seal: February 23, 2022)
                                  (Reissued: March 4, 2022)

                                            )
 SAVANTAGE FINANCIAL                        )       Post-award bid protest; “late-is-late” rule;
 SERVICES, INC.,                            )       price reasonableness; integration of
                                            )       software; best value
                      Plaintiff,            )
                                            )
        v.                                  )
                                            )
 UNITED STATES,                             )
                                            )
                      Defendant,            )
                                            )
        and                                 )
                                            )
 CGI FEDERAL, INC., and MYTHICS,            )
 INC.,                                      )
                                            )
               Defendant-Intervenors.       )


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           Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 2 of 14




                                    OPINION AND ORDER1

        In this post-award bid protest, plaintiff Savantage Financial Services, Inc. (“Savantage”)
challenges the Department of Homeland Security’s (“DHS”) awards under Request for Proposal
No. 70RTAC20R00000001 (“the solicitation”), alleging DHS’s procurement procedure for
obtaining financial, procurement, and asset management systems violated federal regulations and
the solicitation’s requirements, resulting in improper awards and the exclusion of Savantage. 2
Savantage has filed a motion for judgment on the administrative record as well as for a
permanent injunction. See Pl.’s Mot. for Judgment on the Administrative Record (“Pl.’s Mot.”),
ECF No. 45.3 Defendant United States (“the government”) and awardees, defendant-intervenors
CGI Federal, Inc. (“CGI”) and Mythics, Inc. (“Mythics”), have submitted cross-motions. See
Def.’s Cross-Mot. for Judgment on the Administrative Record (“Def.’s Cross-Mot.”), ECF No.
54; Def.-Int. CGI’s Cross-Mot. for Judgment on the Administrative Record (“CGI’s Cross-
Mot.”), ECF No. 58; Def.-Int. Mythics’s Cross-Mot. for Judgment on the Administrative Record
(“Mythics’s Cross-Mot.”), ECF No. 59. The case is fully briefed, see Pl.’s Resp. and Reply,
ECF No. 65; Def.’s Reply, ECF No. 70; Def.-Int. CGI’s Reply, ECF No. 73; Def.-Int. Mythics’s
Reply, ECF No. 74, and a hearing was held February 2, 2022. For the reasons stated in this
opinion, the court DENIES Savantage’s motion for judgment on the administrative record and
GRANTS defendants’ cross-motions. Savantage’s motion for a permanent injunction is
DENIED AS MOOT.

       1
         Because of the protective order entered in this case, this opinion was initially filed under
seal. The parties were requested to review the decision and provide proposed redactions of any
confidential or proprietary information. The protestor requested redactions, but defendants
opposed this request. The court consequently held a hearing regarding redactions on March 4,
2022, concluding that several were necessary to protect the competitive process or shield
proprietary information but other proposed redactions were not. The opinion is thus reissued
with redactions shown as “[***].”
       2
         This is the eighth opinion emanating from this court and the Court of Appeals for the
Federal Circuit adjudicating bid protests by Savantage challenging DHS’s procurement of
modern financial, procurement, and asset management systems: Savantage Fin. Servs., Inc. v.
United States, 81 Fed. Cl. 300 (2008) (“Savantage I”); Savantage Fin. Servs., Inc. v. United
States, 86 Fed. Cl. 700 (2009) (“Savantage II”), aff’d, Savantage Fin. Servs., Inc. v. United
States, 595 F.3d 1282 (Fed. Cir. 2010) (“Savantage III”); Savantage Fin. Servs., Inc. v. United
States, 118 Fed. Cl. 487 (2014) (“Savantage IV”); Savantage Fin. Servs., Inc. v. United States,
123 Fed. Cl. 7 (2015) (“Savantage V”), aff’d, Savantage Fin. Servs., Inc. v. United States, 668
Fed. App’x 366 (Fed. Cir. 2016) (“Savantage VI”); Savantage Fin. Servs., Inc. v. United States,
150 Fed. Cl. 307 (2020) (“Savantage VII”).
       3
         Savantage also filed a motion to supplement the administrative record with a transcript
from a hearing held on September 18, 2020 in the related case styled Savantage VII, Case No.
19-1805. It argued that the transcript would “assist effective judicial review of certain arguments
raised by [the government] and [d]efendant-[i]ntervenors.” Pl.’s Mot. to Supplement at 2, ECF
No. 66. The government opposes this motion. Def.’s Opp’n to Pl.’s Mot. to Supplement, ECF
No. 68. The transcript is not necessary for effective judicial review. Thus, the motion is
DENIED.


                                                 2
           Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 3 of 14




                                        BACKGROUND4

                          A. DHS’s Management Software Modernization

         This bid protest involves DHS’s effort to modernize its financial, procurement, and asset
management systems, a process that has spanned the past fifteen years. Def.’s Cross-Mot. at 1.5
When twenty-two federal agencies were combined in 2002 to form DHS, each component
agency’s pre-existing contracts for management software remained in place. See Savantage VII,
150 Fed. Cl. at 312. DHS components still use separate systems to address their financial,
procurement, and asset management activities. See Def.’s Cross-Mot. at 1. As a result, multiple
vendors provide software of various types to DHS and its components. See Savantage VII, 150
Fed. Cl. at 312. Savantage has been—and still is—one of those vendors. Id. at 312-13. In 2004,
DHS first sought to consolidate the various systems in place and to modernize its financial, asset,
and procurement management systems. See id. at 313. Since that time, Savantage has filed
protests challenging DHS’s procurement methods. See supra n.2. This protest is the latest to be
filed in the chain.

                                         B. The Solicitation

        On October 30, 2019, DHS issued the solicitation for Enterprise Financial Management
Software. AR 24-5374 to 5376.6 The solicitation sought to award an indefinite-delivery,
indefinite-quantity multiple award contract “to provide [DHS] with commercially available off-
the-shelf . . . integrated financial, procurement, and asset management systems application
software licenses.” AR 24-5390. The solicitation specified a minimum award amount of $2,500
for “only the base period of performance” with a cumulative ceiling value of $3,000,000,000.

       4
         The recitations that follow constitute findings of fact by the court from the
administrative record of the procurement filed pursuant to Rule 52.1(a) of the Rules of the Court
of Federal Claims (“RCFC”). See Bannum, Inc. v. United States, 404 F.3d 1346, 1356 (Fed. Cir.
2005) (specifying that bid protest proceedings “provide for trial on a paper record, allowing fact-
finding by the trial court”).
       5
         DHS has both components and directorates; both of which are denominated as
“components.” The components at issue are: “(1) [United States Immigration and Customs
Enforcement] and its customers, [United States] Citizenship & Immigration Services (CIS), [the]
Science & Technology Directorate (S&T), the Cybersecurity and Infrastructure Agency (CISA),
[and] the Management Directorate (DMO); (2) the Trio, which are the [United States] Coast
Guard (USCG), the Transportation Security Administration (TSA), and the Countering Weapons
of Mass Destruction Office (CWMD); (3) the Federal Emergency Management Agency
(FEMA); (4) the Federal Law Enforcement Training Center (FLETC); (5) the [United States]
Customs and Border Protection (CBP); [and] (6) [the] [United States] Secret Service (USSS).”
Def.’s Cross-Mot. at 4 n.2. This opinion will refer to them collectively as “DHS” unless
otherwise specified.
       6
          The administrative record filed with the court in accord with RCFC 52.1(a) is divided
into tabs and is consecutively paginated. The record will be cited by tab and page, e.g., “AR -
___-___.”


                                                 3
         Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 4 of 14




AR 24-5390. There would be a potential 20-year ordering period under the contract. AR 24-
5390.

        An award was to be made to an offeror “whose proposal [was] determined to represent
the best value, price and non-price factors considered.” AR 68-10028. Best value was defined
as “the expected outcome of an acquisition that in the [g]overnment’s estimation provide[d] the
greatest overall benefit in response to the requirement.” AR 68-10028. The solicitation
recognized that this approach “may result in an award to [a] higher evaluated priced [o]fferor”
but also provided that DHS would not “make an award at a significantly higher overall cost to
the [g]overnment to achieve only slightly superior technical capability.” AR 68-10028.

        To make its determination, DHS would use four or five technical, non-price factors: (1)
Experience, (2) Functional Capability, (3) License Terms & Conditions and Security Overview,
(4) Past Performance, and (5) Site Visit and Product Demonstration, the last of which was an
optional factor. AR 68-10028 to 10029. The solicitation specified that “[f]actors 1 and 2 [were]
of equal importance and more important then factors 3, 4 and 5 . . ., which are in descending
order of importance.” AR 68-10029. The final factor was price. AR 68-10029. The solicitation
was explicit that “[a]ll the technical factors when combined [were] significantly more important
than price.” AR 68-10029. Offerors were to receive a rating of low confidence, some
confidence, or high confidence for each technical factor. AR 68-10027.

        As relevant to this protest, factor 1 required offerors to show that their software “ha[d]
been implemented . . . in an agency similar to DHS . . . with at least 6,500 users.” AR 68-10021.
Factor 2 required an “integrated [commercial off-the-shelf] software solution” which satisfied
the various functional requirements outlined in the solicitation. AR 68-10022. Integrated was
defined as:

        [A] [c]onnection between two or more software modules, typically part of the
       same system. Connectivity is transparent to end users and maintained as part of a
       software offering. The system is considered tightly coupled. There is no software
       development required to build these connections and they do not require
       operations and maintenance support under a sustainment contract. Updates are
       provided by the [original equipment manufacturer] vendor.

AR 27-6412. Factor 4 required “up to three (3) relevant past performance references . . . .
Relevant [was] defined as work similar in size, scope and complexity (at least 6,500 users) to the
work identified in the solicitation.” AR 68-10024.

         Factor 6 was the price-related factor and required that the offerors provide their
“commercial rate and the discounted rate being proposed for each software area being proposed.”
AR 68-10027. The solicitation further explained that “[t]he [o]fferor’s price w[ould] be
evaluated to determine price reasonableness. The offeror’s proposed prices contained in all tabs
. . . w[ould] be evaluated for price reasonableness.” AR 68-10029. DHS’s “Business Evaluation
Team” first conducted the price reasonableness analyses by comparing offerors’ proposed prices
with the General Services Administration’s (“GSA”) price lists, which offerors were required to
provide. AR 88-12020 to 12022. Offerors’ initial and final pricing were then compared. AR



                                                4
           Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 5 of 14




88-12033 to 120334. The Trade-Off Chair then received the Business Evaluation Team’s
analysis and confirmed the price reasonableness determinations. See Def.’s Cross-Mot. at 14;
AR 91-12209.

              C. Savantage’s Pre-Award Protest & Amendments to the Solicitation

        Pertinent here, on November 25, 2019, Savantage filed a pre-award protest. Savantage
VII, 150 Fed. Cl. at 315. The court granted the government’s motion for a voluntary remand in
January 2020, and DHS took corrective action by issuing amendments 3 and 4 to the solicitation.
Id. at 315-16. Savantage filed an amended complaint on July 7, 2020. Id. at 316. The court
thereafter denied Savantage’s protest, granting the government’s motion for judgment on the
administrative record. See generally id.

        Following the court’s decision in Savantage VII, DHS issued amendment 5 to the
solicitation on October 28, 2020. AR 57-9692. Amendment 5 incorporated three updated FAR
clauses and requested that offerors confirm that their proposals would remain valid through
February 28, 2021. AR 57-9692 to 9693; 59-9740.7 Offerors were instructed to complete and
return the required representations in the updated FAR provisions by November 2, 2020 at 12:00
p.m. eastern time. AR 57-9693; 59-9740. Offerors could also amend their proposals at that
time, if necessary, to comply with the FAR requirements. AR 57-9693; 59-9740. Two offerors,
Carahsoft Technology Corporation (“Carahsoft”) and Mythics, submitted their updated proposals
shortly after the deadline. AR 59-9740. Mythics’s proposal did not include a required form and
did not confirm the validity date of its proposal. AR 59-9740. Neither offeror amended the
substance of their proposal. Def.’s Cross-Mot. at 20; AR 59-9741. The contracting officer
determined that amendment 5 was “administrative” and “non-material” and that allowing
Carahsoft and Mythics to proceed did not place the other offerors at “any discernable
competitive disadvantage.” AR 59-9741. As such, they remained in the competition.

                                          D. The Awards

         DHS, on March 8, 2021, issued a competitive range determination, concluding that only
CGI and Carahsoft met the solicitation requirements and had a reasonable chance of receiving an
award. See Def.’s Cross-Mot. at 11. Mythics and Savantage both filed bid protests challenging
that determination. See AR 67-9914 to 9919. DHS took corrective action and cancelled the
competitive range, allowing all offerors to continue with the competition. AR 67-9919. DHS
further engaged in two rounds of discussion with the offerors. See generally AR Tabs 71-79
(first round of discussions and final revised proposals); Tabs 80-86 (second round of discussions
and final revised proposals).



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         The three updated FAR clauses were FAR § 52.204–24, Representation Regarding
Certain Telecommunications and Video Surveillance Services or Equipment (October 2020);
FAR § 52.204–25, Prohibition on Contracting for Certain Telecommunications and Video
Surveillance Services or Equipment (Deviation 20-05) (August 2020); and FAR § 52.204–26,
Covered Telecommunications Equipment or Services-Representation (October 2020). AR 59-
9740.


                                                5
         Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 6 of 14




        On August 11, 2021, CGI, Carahsoft, and Mythics were named as the recommended
awardees. CGI (and its Momentum software) was rated high confidence in each of the technical
factors with a final price of $156,546,158. AR 92-12262. Carahsoft, using SAP’s software, was
also rated high confidence in each factor with a final price of $40,243,950. AR 92-12262.
Mythics, using Oracle’s software, was rated high confidence for factors 1 and 2 and rated as
some confidence for factors 3 and 4 with a final price of $225,840,051. AR 92-12262.
Savantage was rated some confidence for each factor with a final price of [***]. AR 92-12262.
Savantage had been ranked fourth out of the seven received proposals and did not receive an
award. AR 93-12272.

        In its proposal, Savantage had offered its software solution Altimate Enterprise Suite
version 19.6 release 5.X, which included three modules: Altimate Financials, Altimate Asset
Management, and [***] (which was developed by [***]). AR 86-11933, 11936; see Pl.’s Mot. at
8. DHS determined that the software had not and was not currently deployed at another
federated agency with at least 6,500 users, AR 93-12277, the software was not fully integrated,
AR 93-12280, and Altimate and [***] had only recently been implemented together, AR 93-
12303 to 12305. Savantage’s proposed unit prices were determined to be reasonable. AR 93-
12305. Savantage received a Notice of Award Decision informing it that CGI, Carahsoft, and
Mythics had been given awards on September 2, 2021. AR 93-12271.

                                            E. This Protest

        Savantage filed this bid protest on September 27, 2021. See Compl., ECF No. 1. Two of
the three awardees, CGI and Mythics, intervened in the case. See Order of September 28, 2021,
ECF No. 12; Order of November 16, 2021, ECF No. 38. Savantage has moved for judgment on
the administrative record, claiming that DHS failed to exclude Carahsoft and Mythics from the
competition for their late submissions to amendment 5 and that DHS improperly evaluated all of
the proposals in various ways, including applying unstated criteria and failing to adhere to the
requirements of the solicitation. Savantage also seeks a permanent injunction. See generally
Pl.’s Mot. In response, defendants seek judgment in their favor on the administrative record,
contending that DHS acted appropriately and within its discretion when making the procurement
award. See generally Def.’s Cross-Mot., CGI’s Cross-Mot., and Mythics’s Cross-Mot.

                                 STANDARDS FOR DECISION

        The standards of the Administrative Procedure Act (“APA”), 5 U.S.C. § 706, govern the
court’s consideration of a protest of the government’s decisions regarding the award of a
contract. See 28 U.S.C. § 1491(b)(4) (“In any action under this subsection, the courts shall
review the agency’s decision pursuant to the standards set forth in section 706 of title 5.”).
Under the APA, the court may set aside a government procurement decision that is “arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C.
§ 706(2)(A), subject to the traditional balancing test applicable to a grant of equitable relief, see
PGBA, LLC v. United States, 389 F.3d 1219, 1224-28 (Fed. Cir. 2004); Hyperion, Inc. v. United
States, 115 Fed. Cl. 541, 550 (2014). “The focal point for judicial review should be the
administrative record already in existence, not some new record made initially in the reviewing




                                                  6
         Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 7 of 14




court.” Florida Power & Light Co. v. Lorion, 470 U.S. 729, 743 (1985) (brackets omitted)
(quoting Camp v. Pitts, 411 U.S. 138, 142 (1973)).

        The court may not “substitute its judgment for that of the agency,” Hyperion, 115 Fed.
Cl. at 550 (quoting Keeton Corrs., Inc. v. United States, 59 Fed. Cl. 753, 755 (2004) (in turn
quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), abrogated
on other grounds as recognized in Califano v. Sanders, 430 U.S. 99, 105 (1977))), but “must
uphold an agency’s decision against a challenge if the ‘contracting agency provided a coherent
and reasonable explanation of its exercise of discretion,’” id. (quoting Axiom Res. Mgmt., Inc. v.
United States, 564 F.3d 1374, 1381 (Fed. Cir. 2009)). This is so even if the clarity of the
agency’s decision is “less than ideal,” so long as “the agency’s path may reasonably be
discerned.” Federal Commc’ns Comm’n v. Fox Television Stations, Inc., 556 U.S. 502, 513-14
(2009) (quoting Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 286
(1974)). “‘[T]he deference afforded to an agency’s decision must be even greater when a trial
court is asked to review a technical evaluation’ because of the highly specialized, detailed, and
discretionary analyses frequently conducted by the government.” CSC Gov’t Sols. LLC v. United
States, 129 Fed. Cl. 416, 434 (2016) (quoting L-3 Commc’ns EOTech, Inc. v. United States, 83
Fed. Cl. 643, 650 (2008)) (additional citations omitted).

         The court may overturn the government’s procurement decision only “if ‘(1) the
procurement official’s decision lacked a rational basis; or (2) the procurement procedure
involved a violation of regulation or procedure.’” Centech Grp., Inc. v. United States, 554 F.3d
1029, 1037 (Fed. Cir. 2009) (quoting Impresa Construzioni Geom. Domenico Garufi v. United
States, 238 F.3d 1324, 1332 (Fed. Cir. 2001)). In conducting the rational-basis analysis, the
court looks to “whether the contracting agency provided a coherent and reasonable explanation
of its exercise of discretion,” Axiom, 564 F.3d at 1381 (quoting Impresa Construzioni, 238 F.3d
at 1333), and affords “contracting officers . . . discretion upon a broad range of issues,”
AgustaWestland N. Am., Inc. v. United States, 880 F.3d 1326, 1332 (Fed. Cir. 2018) (quoting
Impresa Construzioni, 238 F.3d at 1332-33). Accordingly, “the disappointed bidder bears a
heavy burden of showing that the award decision had no rational basis.” Centech, 554 F.3d at
1037 (quoting Impresa Construzioni, 238 F.3d at 1332-33). Protests alleging a violation of
regulation or procedure “must show a clear and prejudicial violation.” Axiom, 564 F.3d at 1381
(quoting Impresa Construzioni, 238 F.3d at 1333).

                                            ANALYSIS

                                      A. The “Late is Late” Rule

         Savantage contends that the agency committed prejudicial error by failing to exclude
Carahsoft’s and Mythics’s proposals because they were submitted late and in Mythics’s case,
was incomplete. Pl.’s Mot. at 16. FAR § 52.212-1(f)(2)(i) (which was incorporated into the
solicitation, see AR 68-10015) provides that “[a]ny offer, modification, revision, or withdrawal
of an offer received at the [g]overnment office designated in the solicitation after the exact time
specified for receipt of offers is ‘late’ and will not be considered.” “Courts interpreting the late
is late rule have adhered to the plain text of the regulation, commenting that its requirement that
offerors submit their proposals on time is a strict rule with very limited exceptions.” Geo-Seis



                                                  7
         Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 8 of 14




Helicopters, Inc. v. United States, 77 Fed. Cl. 633, 640 (2007) (internal quotations and citation
omitted). The rule serves to ensure equal treatment across offerors and prevents any one offeror
from obtaining a competitive advantage. See Argencord Mach. & Equip., Inc. v. United States,
68 Fed. Cl. 167, 173 (2005).

        FAR § 52.212-1(g), however, also allows the government to “waive informalities and
minor irregularities in offers received.” Waiver under this regulation is discretionary. See
Safeguard Base Operations, LLC v. United States, 989 F.3d 1326, 1347 (Fed. Cir. 2021). While
this regulation does not define “informalities” or “irregularities,” the Federal Circuit has cited to
FAR § 14.405 in these types of situations, which rule defines “[a] minor informality or
irregularity [as] one that is merely a matter of form and not of substance.” Specifically, it is a
defect that has negligible effect on “price, quantity, quality, or delivery.” FAR § 14.405. The
regulation cites failing to “[r]eturn the number of copies of signed bids required by the
invitation” or failing to “acknowledge [the] receipt of an amendment to an invitation for bids” as
examples of minor informalities. FAR § 14.405(a), (d). While Savantage argues that FAR §
52.212-1(g) should not apply because the late submissions “do not constitute ‘offers received,’”
Pl.’s Resp. and Reply at 10, it misconstrues the relevant submission. Mythics and Carahsoft had
both submitted prior offers, which had been received. The late representations were
modifications to those already existing proposals, bringing them within the confines of FAR §
52.212-1(g).

        Here, it was within the contracting officer’s discretion to waive the deadline for Carahsoft
and Mythics as well as Mythics’s certification of the validity date because these deficiencies
were minor and had no effect on price, quantity, quality, or delivery. Unlike the defect in
Safeguard, which resulted in a six-million-dollar price increase, see 989 F.3d at 1347-48, the
submissions here were certifications regarding security systems that had no effect on price,
quantity, quality, delivery or any other material aspect of the offers. While the amendment
allowed offerors to amend their proposals, neither Mythics nor Carahsoft did so. See AR 59-
9741. Mythics failed to certify its validity deadline, but this too had no material effect and was
solely a matter of notification as the offer remained valid. The contracting officer reasonably
determined that the certifications under amendment 5 were minor and exercised his discretion to
waive the informalities. As such, the late is late rule does not apply.

        Even if the late is late rule were to apply, Savantage seeks a remedy that is too extreme
by contending that Carahsoft and Mythics should have been excluded entirely as late receipt of
the certifications should have disqualified their initial proposals. Geo-Seis Helicopter, 77 Fed.
Cl. at 645 n.26, is to the contrary, observing that a delinquent offeror’s prior compliant proposals
would not have been eliminated from consideration. Savantage has not identified any actual
prejudice it suffered as a result of the late submissions, and the court’s review of the record did
not reveal any advantage afforded Mythics and Carahsoft by the delay. Therefore, it was
reasonable for the contracting officer to determine that allowing them to continue in the
competition did not prejudice the other offerors. Further, any prejudice Savantage suffered was
cured when DHS took corrective action by removing the initial competitive range and engaging
in two rounds of discussions with offerors. Savantage has stated that DHS must “either exclude
Carashoft and Mythics or re-open discussions and, if appropriate, permit all offerors to submit




                                                  8
           Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 9 of 14




Final Proposal Revisions.” Pl.’s Resp. and Reply at 23.8 The latter has already happened.
While the discussions and revised final proposals may not have been allowed in order to rectify
the amendment deficiencies and any resulting prejudice, they nonetheless have had that effect.
Therefore, the late is late rule does not apply, it was within the contracting officer’s discretion to
allow the late proposals, and any prejudice Savantage or other offerors may have suffered was
obviated by DHS’s subsequent corrective action and discussions.

                                   B. The Solicitation Requirements

       1. Factor 2.

        Factor 2 required offerors to identify their proposed integrated software and to
demonstrate that it met the requirements of the solicitation. AR 68-10022. Savantage argues
that DHS applied unstated evaluation criteria, misunderstood the factual underpinnings of
Savantage’s proposal, and unequally applied the criteria to the offerors. Pl.’s Mot. at 35-49. The
defendants contend that Savantage has waived this argument by not raising it in the earlier
protests and otherwise that the criterion was fairly and accurately applied to the proposals. See
Def.’s Cross-Mot. at 38-47. As an initial matter, the waiver principal established in Blue & Gold
Fleet, L.P. v. United States, 492 F.3d 1308 (Fed. Cir. 2007), does not apply here. Savantage is
not challenging the definition of “integrated” that was established in the solicitation but rather it
is challenging how DHS applied the term to the proposals.

         On the merits, Savantage’s challenge fails as DHS reasonably determined that the
awardees’ software was integrated while Savantage’s was not. Savantage proposed its Altimate
software, which consisted of Altimate Financials, Altimate Asset Management, and [***]. AR
86-11933 to 11935. Altimate is owned by Savantage, while [***] is owned by a different
company. See Pl.’s Mot. at 8. DHS determined that Altimate and [***] were not integrated
because the software consisted of “two separate products that [were] not tightly coupled instead
of two modules of the same product.” AR 89-12170; see also AR 89-12160 to 12180; 12288.
Savantage argues that when determining integration, DHS improperly considered whether
separate products were being offered, if separate companies were involved, if the software came
on different platforms, and if the software was licensed separately, because those were unstated
criteria. Pl.’s Mot. at 38-39. Specifically, Savantage argues that the solicitation defined
integrated as a “[c]onnection between two or more software modules, typically part of the same
system.” AR 27-6412 (emphasis added). Savantage contends that DHS improperly concluded
the Altimate software to be unintegrated for not being part of the same system because the
solicitation merely stated that was a typical occurrence as opposed to a requirement. Pl.’s Mot.
at 39. It similarly objects to the determination that its software was not “tightly coupled” as
required by the solicitation’s definition of integrated. Id. at 46. Defendants counter that DHS



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         Savantage contends that because Mythics did not confirm its validity date, the only
effective corrective action is to exclude it entirely. Savantage avers it was prejudiced because
Mythics could have withdrawn its offer at any point had market conditions changed, while
Savantage could not have done so because it validated its price on time. Pl.’s Resp. and Reply at
23. This fact is not prejudicial, especially where Mythics took no such advantage.


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           Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 10 of 14




made a reasonable determination that Savantage’s software was not integrated using the
definitions within the solicitation. See Def.’s Cross-Mot. at 38-47.

        An agency’s procurement decisions are entitled to “highly deferential rational basis
review,” which requires a “reviewing court to sustain an agency action evincing rational
reasoning and consideration of relevant factors.” CHE Consulting, Inc. v. United states, 552
F.3d 1351, 1354 (Fed. Cir. 2008) (internal quotations omitted) (quoting Advanced Data Concepts
Inc. v. United States, 216 F.3d 1054, 1058 (Fed. Cir. 2000)). A procuring agency “has great
discretion in determining the scope of an evaluation factor.” NEQ, LLC v. United States, 88 Fed.
Cl. 38, 48 (2009) (internal quotations and citations omitted). “[A] solicitation need not identify
each element to be considered by the agency during the course of the evaluation where such
element is intrinsic to the stated factors.” Id. DHS determined that, because Savantage’s
proposed software contained two separate platforms that were separately licensed from two
separate companies, the software was not integrated. AR 89-12171. DHS thus thoroughly and
adequately supported that determination, see AR 89-12160 to 12180, and the court will not
substitute its own judgment for that of the agency. While Savantage argues that the solicitation
provided that integration only “typically” requires one system, this argument misses the
implicit—but reasonably discernible—message that a multi-system software is not typically
optimal, leaving it in the sole discretion of the agency to determine whether such a system
otherwise meets the integration requirement as outlined in the solicitation. It was reasonably
rational for DHS to determine that a non-native component of the proposed software that was
owned by a company other than Savantage was not an integrated part of Savantage’s proposal or
resulted in a tightly coupled system. Separately, Savantage also claims that DHS made several
factual errors concerning Savantage’s proposal. Pl.’s Mot. 42-45.9 Again, the agency reasonably
supported its factual determinations and concluded that Savantage’s proposal did not evidence an
integrated software. Therefore, the court will not disturb the agency’s determination.

        Savantage further argues that the factor was applied unfairly across offerors and that if
Savantage’s software was not integrated then the awardees’ software also should not have been
found to be integrated. Pl.’s Mot. at 40. To succeed on this ground, Savantage must show that
“the agency unreasonably downgraded its proposal for deficiencies that were ‘substantively
indistinguishable’ or nearly identical from those contained in other proposals.” Office Design
Grp. v. United States, 951 F.3d 1366, 1372 (Fed. Cir. 2020). Savantage contends that CGI’s
proposed software is not integrated because it included Momentum Financials, Momentum
Procurement, and Momentum Fixed Assets as well as Sunflower Systems’ Asset Management.
Pl.’s Mot. at 41. DHS itself determined that Sunflower Assets was an unintegrated separate
product. AR 63-9822. It also determined that the Momentum modules alone satisfied the
solicitation’s requirements. AR 63-9822. Further, Sunflower Assets was wholly obtained by
CGI as opposed to Savantage’s use of [***], which is under the control of another company. See
CGI’s Cross-Mot. at 25; Pl.’s Mot. at 8. The court will not second guess the agency’s
determination.


       9
          Savantage argues that DHS inaccurately determined Altimate and [***] to be under
different licenses, that the proposal made sufficiently clear that sub-ledgers were not necessary,
and that Savantage’s software would not require operations and maintenance to keep data
synchronized. See Pl.’s Mot. 42-44.


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        Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 11 of 14




        Likewise, DHS equally applied the factor to Mythics and Carahsoft. While Savantage
argues that the software proposed by both Mythics and Carahsoft are not integrated because they
use “middleware,” the agency came to the opposite conclusion. DHS determined that unlike
Savantage’s use of a non-native software, Mythics and Carahsoft use middleware “to obtain data
from outside platforms,” and the middleware was not necessary to meet the solicitation
requirements. AR 73-10155; Def.’s Cross-Mot. at 46. Further, DHS determined that the
middleware of both proposed entities’ software are the middleware of the respective systems
(Oracle and SAP) and thus are native to the software. AR 84-11604; 73-10155. As such, it is
evident that the proposals are not “substantively indistinguishable,” and Savantage has not met
its burden of showing disparate treatment under Factor 2.10

       2. Factors 1 and 4.

        Factor 1 of the solicitation required offerors to demonstrate that the proposed software
had been implemented with a federated agency with at least 6,500 users, and factor 4 required
past performance references. AR 68-10021, 10024. Savantage contends that these criteria were
unequally applied across the offerors. Savantage conceded in Savantage VII that it could not
meet the prior-implementation requirement. 150 Fed. Cl. at 328. It cannot now argue the
opposite.

        As to the awardees, Savantage argues the factors were improperly applied. Savantage
contends that because the awardees’ software—in its view—were not integrated, the software
also cannot satisfy the factor 1 and 4 requirements of having been previously implemented. Pl.’s
Mot. at 49. DHS determined that the awardees’ respective software are integrated, so the
predicate for this argument fails. Savantage continues by arguing that the awardees failed to
show that the software they are currently offering were previously implemented at other
agencies. Id. at 50-51. As to Carahsoft, Savantage argues that an older version of the HANA
program (as opposed to the offered program of S/4 HANA) was implemented at prior agencies.
Id. The government argues that SAP S/4 HANA was first released in 2015, and that nothing in
the record suggests that this was not the software implemented at the other agencies. Def.’s
Cross-Mot. at 50. “The general rule [is] that an agency may rely upon an offeror’s certification
of compliance with a solicitation’s technical requirements.” Per Aarsleff A/S v. United States,
829 F.3d 1303, 1315 (Fed. Cir. 2016). Where there is nothing in the record to indicate the
contrary, it was reasonable for DHS to determine that the representations made by Carahsoft
applied to the software it was offering. As to Mythics, DHS initially agreed that it was unclear
whether its software had been implemented previously. AR 89-12087 to 12088. During
discussions, Mythics clarified the issue, and DHS determined that the software had been




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          In a footnote in its motion, Savantage also contends that DHS engaged in disparate
treatment under Factor 3. Pl.’s Mot. at 36 n.15. However, this argument was not further
addressed in the motion or in plaintiff’s other brief. The argument thus fails for lack of
explication.


                                               11
        Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 12 of 14




sufficiently implemented at qualifying agencies. Def.’s Cross-Mot. at 51.11 The record supports
DHS’s findings. See AR 89-12087 to 12088.

       3. Price Reasonableness.

        Factor 6 of the solicitation stated that the offeror’s proposed price and the proposed prices
contained in the pricing structure would be evaluated for price reasonableness. AR 68-10029.
Offerors were required to provide the commercial rate of their offering, the discounted rate they
were offering the government, and the total price of their offering. AR 68-10027. The
procurement was to be conducted under FAR Part 12 “while using some procedures under FAR
Part 15.” AR 32-6675.12 The DHS Business Evaluation team compared the discounted prices
with the commercial rates and determined the prices of awardees and Savantage to be
reasonable. AR 88-12020 to 12034. The determination was reviewed and confirmed by the
DHS Trade-Off Chair. AR 91-12248 to 12249. Savantage argues that this method lacked
narrative analysis and failed adequately to address the differences in pricing across the offerors.
Pl.’s Resp. and Reply at 27-29.13

         “Price reasonableness asks if a proposed price is too high.” DynCorp Int’l, LLC v. United
States, 10 F.4th 1300, 1305 (Fed. Cir. 2021) (quotation marks omitted). The choice of what
“price-analysis technique” is left to “a contracting officer’s reasonable judgment in the context of
an individual procurement.” Id. at 1310. “[A]gency action evincing rational reasoning” should
be sustained. Id. at 1315 (quoting Advanced Data Concepts, 216 F.3d at 1058). The agency
need not provide an “explicit explanation” as to its reasoning so long as its “decisional path is
reasonably discernible.” Id. (quoting Wheatland Tube Co. v. United States, 161 F.3d 1365,
1369-70 (Fed. Cir. 1998)). FAR § 15.404-1 “provides guidance in a way that nonetheless
permits the agency broad discretion.” Id. at 1313 (internal quotations and citation omitted).

        The method used by DHS to determine price reasonableness was itself reasonable. The
DHS Business Evaluation Team compiled a chart of the offerors’ commercial list prices, the
final scenario prices, and calculated the discount received. AR 88-12043. The chart illustrates
“without words that the offerors’ prices [were] lower than what the offerors charge private
consumers,” Def.’s Reply at 10 (emphasis omitted), and as such illustrates DHS’s decisional


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          In its response and reply, Savantage argues CGI was also improperly rated under
factors 1 and 4. It argues that because CGI’s software is not integrated, it cannot prove past
implementation of the software elsewhere. Having rejected the argument that CGI’s software is
not integrated, the court will not disturb DHS’s determination as to CGI and factors 1 and 4.
       12
          FAR Part 12 requires that an agecy “establish price reasonableness in accordance with
13.106-3, 14.408-2, or subpart 15.4, as applicable.” FAR § 12.209. Only FAR subpart 15.4 was
applicable to the procurement. See Pl.’s Mot. at 24 n.7.
       13
           Savantage argued in its motion that the price reasonableness determination was
arbitrary and capricious because it failed to use the competitive price-list comparison technique
and failed to compare all of CGI’s unit prices. Pl.’s Mot. at 25, 28. Savantage has withdrawn
these arguments, Pl.’s Resp. and Reply at 25 n.9, 10, and the court will not consider them.


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        Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 13 of 14




path. Unlike the agency in DynCorp, which conducted an analysis of the lowest-priced offeror
only, see DynCorp Int’l LLC v. United States, 148 Fed. Cl. 568, 581 (2020), aff’d, DynCorp, 10
F.4th at 1317, DHS evaluated each offeror’s price against the price provided to private
consumers. See AR 88-12043.14

        DHS also compared the offerors’ pricing against one another. While the government
contends that this analysis was unnecessary in light of the consumer comparison, it also argues
that DHS properly conducted this analysis and supported it with a narrative. Def.’s Reply at 11-
12. DHS explained that it found the significant difference in price between Carahsoft and the
other offerors to be a result of Carahsoft’s offering subscription licenses while the others
proposed perpetual licenses along with a difference in the level of discount offered. AR 88-
12040. While Savantage argues that this analysis did not determine price reasonableness, it is
implicit and readily discernible that, by identifying differences in the price approach between
Carahsoft and the other offerors, DHS was determining the prices to be reasonable despite the
significantly different approaches involved. DHS satisfied the price reasonableness requirement
by comparing offerors’ prices with the prices provided to consumers, and any other charts or
analyses were extraneous.

       4. Best Value.

       The solicitation required that an award was to be made to an offeror “whose proposal
[was] determined to represent the best value, price and non-price factors considered.” AR 68-
10028. Best value was defined as “the expected outcome of an acquisition that in the
[g]overnment’s estimation provide[d] the greatest overall benefit in response to the requirement.”
AR 68-10028. The soliciation also prohibited DHS from making an award “at a significantly
higher overall cost to the [g]overnment to achieve only slightly superior technical capability.”
AR 68-10028. Savantage argues that DHS cannot justify making awards to CGI and Mythics
when their final prices were significantly higher than Carahsoft’s final price. Pl.’s Mot. at 53.
Savantage argues that an award should not have been made to CGI and Mythics on those
grounds and that Carahsoft should have been excluded for its late certification, leaving only
Savantage to receive an award. Id. at 53-54.

       The solicitation contemplated multiple awards, see AR 24-5390, meaning that DHS was
not required to accept only the lowest offer, so long as significant technical advantages were
involved. Further, the solicitation contemplated that obtaining “the greatest overall benefit”
might require awarding to a higher-priced offeror. AR 68-10028. DHS determined that CGI and
Mythics offered such advantages. See AR 91-12248 (“CGI’s higher evaluated premium price


       14
           A government chart also compared the independent government cost estimates of the
offerors. See AR 88-12034. Savantage challenges this approach on the ground that it lacked a
narrative analysis. The government concedes that there was not an accompanying narrative and
that some of the offerors’ prices exceeded the independent government cost estimate. Def.’s
Reply at 10 n.2. The government argues that Savantage was not prejudiced because DHS was
not required to conduct multiple analyses. Id. The commercial comparison reasonably satisfied
the price reasonableness analysis requirement, so the lack of narrative supporting this second
chart is irrelevant.


                                               13
        Case 1:21-cv-01910-CFL Document 87 Filed 03/04/22 Page 14 of 14




and higher rated proposal represents the best value to the [g]overnment as compared to
Savantage.”); 12249 (“The additional benefits of the Mythics proposal in the most important
areas of experience and software functionality is considered to be more advantageous to the
[g]overnment than Savantage’s lower evaluated price.”). DHS further established that the
differences in price across the three awardees could be explained by the difference in licensing
approaches. AR 88-12034; 12040; 27-6542. Ultimately, “[p]rocurement officials have
substantial discretion to determine which proposal represents the best value.” E.W. Bliss Co. v.
United States, 77 F.3d 445, 449 (Fed. Cir. 1996). Where DHS reasonably and rationally justified
its best value determination, the court will not second guess the agency’s judgment.

        The court therefore rejects Savantage’s challenge that DHS conducted the procurement in
an arbitrary, capricious, or prejudicial manner.

                                           CONCLUSION

       For the foregoing reasons, Savantage’s motion for judgment on the administrative record
is DENIED, and defendant’s and defendant-intervenors’ motions for judgment on the
administrative record are GRANTED. Savantage’s motion for a permanent injunction is
DENIED AS MOOT.

       The Clerk shall enter judgment in accord with this disposition.

       No costs.

       It is so ORDERED.

                                            s/ Charles F. Lettow
                                            Charles F. Lettow
                                            Senior Judge




                                               14
